                  THE THIRTEENTH COURT OF APPEALS

                                   13-23-00385-CR


                                  Clarissa De La Paz
                                           v.
                                  The State of Texas


                                  On Appeal from the
                     197th District Court of Willacy County, Texas
                          Trial Cause No. 2023-CV-0235-A


                                     JUDGMENT

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes that the judgment of the trial court should be reversed and the cause

remanded to the trial court. The Court orders the judgment of the trial court REVERSED

and REMANDED for further proceedings in accordance with its opinion.

      We further order this decision certified below for observance.

August 22, 2024
